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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

JERRY WAYNE ROLAND                                                                     PLAINTIFF

V.                                                                  NO. 4:20-CV-111-DMB-DAS

HUMPHREYS COUNTY,
MISSISSIPPI, et al.                                                                DEFENDANTS


                                             ORDER

        On August 4, 2022, Jerry Wayne Roland and the remaining defendants—Dexter

McPherson and Humphreys County, Mississippi—filed a joint motion asking the Court to

“dismiss[] this matter with prejudice in its entirety with each party to bear its own costs.” Doc.

#136. As cause, the parties represent that they “have agreed to resolve this litigation.” Id. at 1.

        Based on the parties’ resolution of this case, the joint motion to dismiss [136] is

GRANTED. This case is DISMISSED with prejudice with each party to bear its own costs.

        SO ORDERED, this 4th day of August, 2022.

                                                      /s/Debra M. Brown
                                                      UNITED STATES DISTRICT JUDGE
